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                                                                              July 9, 2025
 Via ECF
 Hon. Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re: Cooper v. Fire & Ice Trucking, Corp. et al :Case No. 1:23-cv-01675-KAM-TAM


 Dear Judge Matsumoto:

          Pursuant to your Order of July 8, 2025, the Exhibits Defendants is planning on using at
 trial are being overnighted to the Court.

       Also, the Exhibit originally identified in my Letter of July 8, 2025 are being submitted on
 ECF. To Wit:

 Exhibit “1” will be the Independent service provider agreement between Federal Express
 and Fire & Ice.
 Exhibit “2” Pay stubs for the weekly earnings for Mr. Copper.
 Exhibit “3” will be the W-2s sent to Mr. copper from Fire and Ice.
 Exhibit “4” will be Lease for Ms. Stewart
 Exhibit “5” Photo of Fire & Ice Truck.
 Exhibit “6” Tax return for Fire and Ice.
 Exhibit “7” Scanner reports from Fire & Ice for Mr. Coopers Scanner.
 Exhibit “8” Employment information from Federal Express regarding Mr. Copper showing
 the history of Mr. Cooper’s employment. This will be in three parts. 7-a, 7-b. and 7-c.
 Exhibit “9” incorporation documents for Fire & Ice.
 Exhibit “10” change of address information filed by Fire & Ice with New York State.

 The Court should note that the letter submitted on July 8, 2025 contained an error. Although
 Exhibit 2 above was identified in the letter, it was not separately marked as an exhibit. The current
 list corrects that mistake.




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                                                  Respectfully submitted,




 Cc: ECF
 Joshua Levine-Epstein
 Attorney for Plaintiff




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